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                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 SMART MOBILE TECHNOLOGIES LLC,

                 Plaintiff,                           Case No. 6:21-cv-00603-ADA

 v.
                                                      Jury Trial Demanded
 APPLE INC.,

                 Defendant.

DEFENDANT APPLE INC.’S UNOPPOSED MOTION FOR LEAVE TO SUPPLEMENT
           THE RECORD ON APPLE’S MOTION TO TRANSFER

I.     INTRODUCTION

       Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure, Apple respectfully

requests leave to supplement the record on its motion to transfer venue (Dkt. No. 29) (“Transfer

Motion”) to include: (1) declarations (Exs. 1-6) from the Apple employees that Mark Rollins

identified in his declaration in support of Apple’s Transfer Motion (Dkt. 29-1, “Rollins

Declaration”), and (2) declarations from the Apple engineers responsible for the Wi-Fi Assist,

FaceTime, and Wi-Fi Calling features, which Plaintiff Smart Mobile Technologies, LLC (“Smart

Mobile”) directly accused for the first time during venue discovery (Exs. 7-9). Each of these

declarations is from an Apple witness that Apple has already identified in its Transfer Motion,

the Rollins Declaration, or its verified responses to Smart Mobile’s venue interrogatories (served

on May 31, 2022), except for one employee, Jeff Lasker, who is replacing a previously identified

licensing witness who is no longer an Apple employee.

       Apple seeks leave to submit these declarations to address the Court’s guidance and

criticisms of Mark Rollins’s similar declaration testimony in its Order granting Apple’s motion

to transfer in Scramoge Technology Ltd. v. Apple Inc., No. 6:21-cv-00579, ECF No. 82 (May 25,



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2022, W.D. Tex.) (“Scramoge”). Apple respectfully submits that there is good cause for this

supplementation because (1) the Court’s Order in Scramoge issued after Apple filed its Transfer

Motion in this case, and Apple believes that, in light of the criticisms there, the Court would

benefit from hearing directly from the Apple employees identified in the Rollins Declaration and

in Apple’s venue interrogatory responses; (2) the information that these witnesses provide is

important to the venue analysis; (3) Smart Mobile will not be unfairly prejudiced because (a)

Apple already identified these witnesses in its Transfer Motion, Rollins Declaration, and venue

interrogatory responses, (b) these witnesses’ declarations are consistent with the information

already provided in the corresponding paragraphs of the Rollins Declaration and Apple’s venue

interrogatory responses, and (c) Apple recently provided these declarations to Smart Mobile,

thereby affording Smart Mobile time to depose any one or more of these individuals before its

responsive venue brief is due, if Smart Mobile chooses to do so; and (4) a continuance is not

necessary in light of the current case schedule, but is available to cure any potential prejudice to

Smart Mobile. The parties have also met and conferred regarding this motion and Smart Mobile

does not oppose the relief sought herein.

       In accordance with the Western District of Texas Local Rules, Apple has attached the

declarations it seeks to supplement as exhibits to this motion. W.D. Tex. Civ. R. 7(d).

II.    BACKGROUND

       On February 11, 2022, Apple moved to transfer this case to the Northern District of

California under 28 U.S.C. § 1404(a). In its Transfer Motion, Apple relied on the Rollins

Declaration to establish certain facts, such as the relevance, role, and locations of witnesses and

their teams, and the relevance and locations of various categories of documents and other

evidence. Since then, the parties have propounded written venue discovery requests, which,

pursuant to the Court’s OGP, extended the date for Smart Mobile’s response to the Transfer

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Motion. Since that discovery was served, the parties have been engaging in venue-related

discovery. The venue discovery cutoff was originally May 11, 2022, but the parties agreed to

extend that date to resolve various venue-related discovery disputes and conduct depositions.

Apple anticipates that venue discovery will be completed by the end of this month.

III.   THERE IS GOOD CAUSE TO GRANT LEAVE TO SUPPLEMENT

       Good cause is required to supplement a motion record. See Fed. R. Civ. P. 16(b)(4); Al-

Khawaldeh v. Tackett, No. 1:20-cv-01079-RP, 2021 WL 2322930, at *1 (W.D. Tex. June 7,

2021) (holding that Rule 16(b)(4) governed request to supplement evidence in opposition to

summary judgement motion, and granting leave to supplement) (citing Shepherd ex rel. Estate of

Shepherd v. City of Shreveport, 920 F.3d 278, 287 (5th Cir. 2019) (applying good cause standard

to motion to supplement briefing)). Good cause is evaluated based on the assessment of four

factors: (1) the explanation for the failure to timely offer the evidence; (2) the importance of the

evidence; (3) potential prejudice in allowing the evidence into the record; and (4) the availability

of a continuance to cure such prejudice. See EEOC v. Service Temps Inc., 679 F.3d 323, 333-34

(5th Cir. 2012) (applying factors to proposed pleading amendment). For the reasons set forth

below, all four factors support that good cause exists to permit the requested supplementation.

       A.        Apple’s Explanation for the Timing of the Requested Relief Supports Good
                 Cause for the Requested Supplementation

       Apple timely filed its Transfer Motion on February 11, 2022, relying upon the

accompanying Rollins Declaration to establish certain facts concerning the roles, activities, and

locations of relevant witnesses and their teams, and the locations of relevant documents.

Approximately three months later, this Court issued its Order in Scramoge that criticized the

testimony of Mr. Rollins—as set forth in a declaration structured similarly to the Rollins




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Declaration here—and that provided additional guidance about declaration testimony that would

assist the Court in determining motions to transfer venue.

       After receiving the Scramoge Order, Apple acted promptly to obtain and seek leave to

submit declarations from the Apple employees that Mr. Rollins identified in the Rollins

Declaration—with each testifying to information similar in scope to that which Mr. Rollins set

forth in his declaration. In particular, Apple promptly evaluated the effect and impact of the

Scramoge Order on the present Transfer Motion and Rollins Declaration to determine whether

supplementation here could aid the Court’s review; scheduled time with each of the witnesses

submitting supplemental declarations to prepare, review, and finalize their declarations;

contacted opposing counsel to meet and confer on the present motion; and diligently prepared

and filed the present motion. Smart Mobile has long been aware of the identity of the declarants,

and they continue to be available for deposition. Apple is also willing to accommodate a further

extension to Smart Mobile’s deadline to oppose Apple’s Transfer Motion. Indeed, Smart Mobile

appears to agree that good cause exists, since it does not oppose this motion.

       B.        The Importance of the Evidence Supports Good Cause for the Requested
                 Supplementation

       To prevail on its motion to transfer, Apple bears the burden to establish that the Northern

District of California is the clearly more convenient venue. In re Volkswagen of Am., Inc., 545

F.3d 304, 312-15 (5th Cir. 2008) (“Volkswagen II”). The convenience of willing witnesses is the

most important factor in the transfer analysis. See In re Apple Inc., No. 22-128, 2022 WL

1196768, at *2 (Apr. 22, 2022). However, now that Apple is on notice that the Court will credit

“Mr. Rollins’s declaration only for its unrebutted statements” (Scramoge Order at 3), Apple risks

being left without key evidence about the identity of the likely Apple witnesses that Mr. Rollins

identified in his declaration. Without leave, the risk to Apple is extreme given (1) it has the


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burden to establish that the Northern District of California is the clearly more convenient venue,

and (2) the facts concerning the convenience of key willing witnesses is the most important

factor in that analysis. For these reasons, the importance of the requested supplementation

supports a finding of good cause.

       C.        Smart Mobile Will Not Be Prejudiced by the Requested Supplementation

       For several independent reasons, Smart Mobile will not be prejudiced by the requested

supplementation.

       First, most of the declarations are primarily from witnesses that are already identified in

the Rollins Declaration and relied on in Apple’s Transfer Motion. The only exceptions are (1) a

new licensing witness, Jeff Lasker, who works in the same office in the Northern District of

California as the previously identified licensing witness, Jayna Whitt, who is no longer employed

at Apple, and (2) Apple engineers responsible for accused features that Smart Mobile directly

accused for the first time during venue discovery, after Apple’s transfer motion was filed. As to

the latter, Apple timely identified these engineers in its verified responses to Smart Mobile’s

venue interrogatories served on May 31, 2022.

       Second, the information in the supplemental declarations is consistent with the

information already provided in the Rollins Declaration. In that respect, these declarations do

not provide new evidence, but instead confirm the evidence that has already been submitted.

The new information in the supplemental declarations explains only the basis for and limits of

the witnesses’ personal knowledge of the matters addressed in their declarations. (Compare

Rollins Declaration, with Exs. 1-6 (witness declarations)).

       Third, because Smart Mobile has not yet responded to Apple’s Transfer Motion, Smart

Mobile has time and opportunity to address these supplemental declarations. Nevertheless,

Apple will not oppose a reasonable further extension of the venue discovery deadline to allow

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Smart Mobile to depose these individuals, if Smart Mobile chooses to do so, within the venue

discovery deposition limits. Apple has offered to make each of the declarants available for

deposition and to accommodate an extension to Smart Mobile’s deadline to oppose Apple’s

Transfer Motion.

        In summary, the additional declarations from witnesses already known to Smart Mobile

will not unduly prejudice Smart Mobile. Smart Mobile appears to agree, since it does not oppose

this motion. The additional declarations will also allow the Court to have a complete factual

record when ruling on Apple’s transfer motion.

       D.        A Continuance Is Unnecessary Given the Current Procedural Posture

       Smart Mobile’s response to Apple’s motion to transfer is not due until after the

completion of venue discovery, which is still in progress, and both deadlines can be extended at

Smart Mobile’s request. Smart Mobile just recently filed an unopposed motion to extend the

case schedule, which was granted on June 30. Under that schedule, Apple does not anticipate the

instant motion would impact any future deadlines. But should Smart Mobile request a

reasonable continuance, Apple would not oppose. Moreover, a continuance would not affect the

overall trajectory of this case. There is no reason that the parties could not proceed with fact

discovery starting on October 6, 2022, as currently scheduled, even if a modest continuance of

other case dates were granted.

IV.    CONCLUSION

       For the reasons set forth above, Apple respectfully requests leave to submit the

supplemental declarations attached as Exhibits 1-9 to this motion in further support of Apple’s

pending motion to transfer.




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Dated: July 22, 2022                  Respectfully submitted,

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                             CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule CV-7(i), counsel for Apple has conferred with counsel for Smart

Mobile in a good-faith effort to resolve the matter presented herein. Counsel for Smart Mobile

does not oppose the instant Motion.

                                             /s/ Michael D. Jay
                                             Michael D. Jay




                                CERTIFICATE OF SERVICE

       I certify that the foregoing document was filed electronically on July 22, 2021, pursuant

to Local Rule CV-5(a) and has been served on all counsel who have consented to electronic

service via electronic mail. Any other counsel of record will be served by first class U.S. mail on

this same date.

                                                    /s/ Michael D. Jay
                                                    Michael D. Jay




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